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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF RHODE ISLAND


 NINTENDO OF AMERICA INC.,

                                                     NO.
                     Plaintiff,

         v.

 TROPIC HAZE LLC,

                     Defendant.



                             NINTENDO OF AMERICA INC.’S
                          CORPORATE DISCLOSURE STATEMENT

        Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Nintendo of America Inc.

 (“Nintendo”) makes the following disclosures:

        1. Nintendo is a Washington corporation headquartered in Redmond, Washington.

              Nintendo is a wholly-owned subsidiary of Nintendo Co., Ltd., a publicly-traded

              company organized under the laws of Japan.

        2. No other publicly-traded company owns more than 10% of Nintendo’s stock.




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  DATED this 26th day of February, 2024.


  Respectfully submitted,

  ADLER POLLOCK & SHEEHAN P.C.             JENNER & BLOCK LLP



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